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                                       18ti-s-c.j981(a)(1)(c)
                                                                       FILED BY                 D.C.
  UN ITED STA TES O F A M ER ICA
                                                                            82y 21 2219
  VS.
                                                                            ctlklbll' lî?tlc
                                                                            S.D.OF FLA.-MIAMI
  ED O A R DO O R SO N I,

               D efendant.


                                       IN FO R M A TIO N

         The U nited StatesofA m erica chargesthat:

                                 G EN ER AL A LLEG A TIO N S

         Atalltim esrelevantto thislnform ation:

                PetrôleosdeVenezuelaS.A.(LûPDVSA'')wasthestate-ownedandstate-controlled
  oilcom pany in Venezuela. PDV SA was responsible for the exploration,production,retining,

  transportation, and trade in energy resources in V enezuela and provided funding for other

  operationsofthe V enezuelan governm ent.

                PDVSA enteredintovariousjointventureswithforeignoilcompaniestoleverage
  the expertise ofthose oilcompanies(the ûTDVSA Subsidiaries''or,individually,a :ûPDVSA
  Subsidiary''). PDVSA maintained a majority stake in,and largely controlled,the PDVSA
  Subsidiariesand thatcontrolextended to the procurem entprocess.

                Petrocedeho S.A.(tûpetrocedefio'')wasa PDVSA Subsidiary thatconsisted ofa
  combination ofPDVSA and two European oilcompanies,with majority controlbelonging to
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  PDV SA . Petrocedeho had a significant operating budgetand aw arded severalhundred m illion

  dollars in procurem entcontractseach year.

         4.     PDV SA     and the PD V SA        Subsidiaries, including Petrocedeho, were

  ttinstrum entalities''of the V enezuelan governm ent as that term is used in the Foreign Corrupt

  PracticesAct(ûCFCPA''),Title15,UnitedStatesCode,Section78dd-2(h)(2)(A).
                D efendantED O A RD O O R SO N Iw asa V enezuelan citizen residing in V enezuela

  untillate 2017. O rsoniheld variouspositionsatPD V SA and the PDV SA Subsidiariesfrom 2007

  to 2017,including,am ong others,generalcounselofPetrocedeho,legalm anager forallPD V SA

  operations in the oil-rich O rinoco belt,and generalcounselofPD V SA . Beginning in or around

  2012, O RSO N I served on a com m ittee that review ed and approved Petrocedeho contracts.

  O R SO N I w as a ûûforeign ofticial''asthatterm isused in the FCPA ,Title 15,U nited States Code,

  Section 78dd-2(h)(2).
         6.     Contractor 1,an individualw hoseidentity is known to the U nited States,owned or

  controlled several com panies, including Florida-registered com panies, that supplied goods or

  services to PDV SA and PD V SA Subsidiaries. Contractor 1 w as an ofticer,director,em ployee,

  and agentofa ûtdom estic concern,''and a stockholderacting on behalfofa isdom estic concern,''as

  thosetermsareusedintheFCPA,Title15,United StatesCode,Section78dd-2(h)(1).
                    C O N SPIR ACY TO CO M M IT M O N EY LA U N DER ING

         Beginning in oraround 2012,and continuing through atleast2016,in the Southelm District

  ofFlorida,and elsew here,the defendant,

                                      E DO AR D O O R SO N I,
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  did knowingly and willfully,thatis,with the intentto further the objects ofthe conspiracy,
  com bine,conspire,confederate,and agree w ith othersknow n and unknow n to the United States,

  including Contractor l,to com m itoffensesagainstthe United States,nam ely:

                 to know ingly conduct a tinancial transaction, which involved the proceeds of

  specified unlaw fulactivity,know ing the property involved in the financialtransaction represented

  the proceeds ofsom e form ofunlaw fulactivity,and knowing thatthe transaction w asdesigned in

  whole and in pal4 to concealand disguise the nature,the location,the source,the ow nership,and

  the controlof the proceeds of said specified unlaw fulactivity,in violation of Title 18,United

  StatesCode,Section 1956(a)(1)(B)(i);and
                 to know ingly transport,transm it,and transfer a m onetary instrum ent and funds

  from a place in the United Statesto and through a place outside the United States and to a place in

  the U nited Statesfrom and through aplace outside the U nited States w ith the intentto prom otethe

  carrying on of specified unlaw fulactivity,in violation of Title 18,United States Code,Section

  1956(a)(2)(A).
         Itisfurtheralleged thatthespecitied unlawfulactivity isthe following:(a)bribery ofa
  foreign official,a felony violation ofthe FCPA ,Title 15,U nited StatesCode,Section 78dd-2,and

  (b)offensesagainstaforeignnation,specifically Venezuela,involvingbribery ofapublicofficial,
  asprovidedbyTitle 18,UnitedStatesCode,Section l956(c)(7)(B)(iv).
                               PU R PO SE O F T H E C ON SPIR AC Y

                 The purpose of the conspiracy w as for ED O A RD O O R SO N I and other co-

  conspiratorcontractors(includingContractor1)toengageinfinancialtransactionsthatccmcealed,
  disguised,and promoted bribepaym entsm ade forthebenefitofORSO NI,allin an effol'tby the
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  co-conspirators(including Contractor1)togain an illegaland improperadvantagein obtaining
  and retaining procurem entcontractsw ith PD V SA and the PD V SA Subsidiaries.

                       M A N NE R A N D M EA N S O F TH E C O N SPIM CY

         The m annerand m eansby w hich EDO A R D O O R SO NI and his co-conspiratorssoughtto

  accomplishtheobjectsandpumoseoftheconspiracyincluded,amongotherthings,thefollowing,
  w hile in the Southern D istrictofFlorida and elsew here:

                 ED O A RD O O R SO NI received instructions from senior PDV SA ofticials to

  ensure that specific contractors received contracts from Petrocedeio,w hich ultim ately yielded

  benetitsforthese seniorPDV SA officials.

                 ED O AR D O O R SO N I agreed to receive bribes from co-conspirator contractors

  (including Contractor 1)in exchange forORSONI'Sassistance in obtaining contractswith or
  receiving paym ents from Petrocedeho and anotherPDV SA Subsidiary.

                 EDOARDO ORSONIandtheco-conspiratorcontractors(includingContractor1)
  agreed to conceal,and did in fact conceal,the nature, source, and ow nership of the bribes by

  directing thatbribe paym entsbe m ade to corporate bank accountsconnected to O RSO N Ibutnot

  in hisnam e.

                 ED O A R D O O R SO N Iand a co-conspiratorw hose identity isknow n to theU nited

  States used proceeds ofthe bribes sent by co-conspirator contractors,including Contractor 1,to

  conduct personal financialtransactions for them selves,including the purchase of real estate in

  South Florida.
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                                          O V ERT A C TS

         ln f'urtherance ofthe conspiracy,and to accomplish the purpose and objectsthereof,
  ED O A R D O O R SO N I and his co-conspirators com m itted and caused to be com m itted,in the

  Southern D istrictofFlorida and elsewhere,atleastone ofthe follow ing overtacts,am ong others:

                On or about October 28, 2014,ED O A R DO O R SO N I caused a co-conspirator

  contractor to w ire approxim ately $749,960 to a bank account in Portugal for the benefit of

  O R SON I.

                On oraboutJanuary 27,2015,ED O A RD O O R SO NI caused Contractor 1to w ire

  approximately $201,180 from a M iam i,Florida,bank accountofa Florida-registered companyto
  a barlk accountin the C aribbean forthe benefitofO R SO NI.

                On or about D ecem ber 16, 2016, ED O A RD O O R SO N I caused deeds to be

  executed for tw o realproprieties located at 1080 BrickellA venue in M iam ipurchased w ith the

  proceedsofbribepaym ents.

         A llin violation ofTitle 18,United States Code,Section 371.

                                          FO RFEITU R E
                                     (18u.s.c.#û81(a)(i)(c))
                The allegations contained in the lnfonnation are re-alleged and incorporated by

  reference asthough fully setforth herein forthepurpose ofalleging forfeitureto the U nited States

  ofcertain property in w hich the defendant,E DO AR DO O R SO NI,hasan interest.

                Upon conviction ofa conspiracy to com m ita violation ofTitle 18,U nited States

  Code,Section 1956(a),asallegedinthislnformation,thedefendant,EDOARDO ORSONI,shall
  forfeit to the U nited States all property,real or personal,which constitutes or is derived from

  proceedstraceabletosuchoffense,pursuanttoTitle18,UnitedStatesCode,Section981(a)(1)(C).
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                Theproperty subjecttoforfeitureincludes,butisnotlimitedto:
                a.      aforfeituremoneyjudgmentintheamountofatleast$4,500,000.00,
                                                                                 .
                        realproperty located at1080 BrickellA venue,U nit4100,M iam i,Florida
                        33131;and

                        realproperty located at 1080 BrickellA venue,U nit4106,M iam i,Florida
                        33131.

                Ifanyoftheproperty subjecttoforfeiture,asaresultofanyactoromission ofthe
  defendant:

                      cannotbe located upon the exercise ofdue diligence;

                      hasbeen transferred orsold to,ordeposited w ith,a third party;

                      hasbeenplacedbeyondthejurisdictionofthecourt;
                      hasbeen substantially dim inished in value;or

                 e.   has been com m ingled with otherproperty which cannot be divided without
                      difficulty.

  the U nited States shallbe entitled to the forfeiture of substitute property underthe provisions of

  Title21,UnitedStatesCode,Section853(p).
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         AllpursuanttoTitle18,UnitedStatesCode,Section981(a)(1)(C),andtheproceduresset
  forth in Title 21,U nited StatesCode,Section 853,asincorporated by Title 28,U nited StatesCode,

  Sedion2461(e).


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  A RIAN A FA JARD O O RSH AN
  UN ITED STA TES ATTO RN EY
  SOU TH ERN D ISTRICT O F FLORID A

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  By:               Y '
         M ICH A EL N .BERGER
         A SSISTAN T UN ITED STA TES A TTORN EY
         SOU TH ERN D ISTR ICT O F FLO RIDA


  RO BERT ZIN K ,CH IEF
  CRIM W A L D IV ISION ,FRAU D SECTION
  U .S.D EPA RTM EN T OF JU STICE


  By:                *1. Z?.v   -   - -
     & , JOHN .ALEX ROM ANO
         TRIA L A TTO RN EY ,FR AU D SECTION
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                           UN ITED3STATES
                                     Entered  on CT
                                          D ISTRIFLSD  Docket 11/04/2019 Page 8 of 9
                                                    CO URT
                                        SOUTH ERN DISTRICT O F FLO R IDA

U NITED STAT ES O F A M ERICA                      CASE NO .

                                                   CERTIFIC ATE O F TR IA L ATTO R NEY *
EDO ARD O O RSON I,
                           Defendant.
                                          /        Superseding Case Inform ation:


CourtDivision:(SelectOne)                          New Defendantts)                   Y es             No
                                                   N um berofN ew Defendants
   X   s4ianni             K ey W est              Totalnumberofcounts
       FTL                 W PB
        ldo herebycertif.y that:
                 lhavecarefully consideredtheallegationsoftheindictm ent,thenum berofdefendants,thenum berofprobable
                 w itnessesandthelegalcom plexitiesoftheIndictm ent/lnfonuation attached hereto.
                 lam aw are thatthe inform ation supplied (
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                                                             hisstatementwillberelied uponbythepudgesofthisCoul'
                                                                                                               tin
                 settipgtheircalendarsandschedulingcrimlnaltrialsunderthemandateoftheSpeedy TrlalAct,Title28U.S.C.
                 Sectlon 3l61.
                 Interpreter:       (YesorNo)       Yes
                 Llstlanguageand/ordialect           panlsh
                 This case willtake           0    daysforthepartiesto tl'
                                                                         y.
                 Pleasecheck appropriatecategory and typeofoffense listedbelow:
                 (Checkonlyone)                                     (Checkonlyone)
       l         0 to 5 days                           X                      Petty
       11        6 to l0 days                                                 M inor
       ll1       1l to 20 days                                                M isdem .
       IV        21 to 60 days                                                Felony
       V         6l days and over
       6.        HasthiscasebeenpreviouslyfiledinthisDistrictCourt? (YesorNo)                  No
       lfyes:
       Judge: Lenard                                        Case No.
       (Attachcopygfdispositiveordel)
       Hasacomplamtbeentiledinthlsmatter? (YesorNo)                             No
       lfyej:
       M aglstrate Case N o.
       RelatedM iscqllaneousnumbers:
       Defendantts)lnfederalcustodyasof
       Defendantts)lnstatecustodyasof
        Rule20 from the                              Istrlcto
       lsthisapotentialdeathpenaltycase?(YesorNo)
                 D oesthis case originate from a matterpending in the N orthern Region ofthe U.S.Attorney's Office prior to
                 O ctober l4,2003?                  Yes       X      No

                 D oesthiscaseoriginate &om a m atterpending in the CentralRegion ofthe U .S.Attorney'sO ffice priorto
                 September 1,2007?               Yes        X No



                                                                               % .o
                                                            M ICHAEL N .BERGER
                                                            A SSISTANT U NITED STATES A TTORN EY
                                                            Coud N 0.A 5501557

*penaltySheetts)attached                                                                               REV 4/8/08
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                            U NITED STA TES DISTR ICT CO U R T
                            SO UTH ERN DISTR IC T O F FL O R ID A

                                      PEN A LTY SH EET

  D efendant'sN am e:ED O A R D O O R SO N I

  C ase N o:

  Count#:1

  Conspiracv to Com m itan Offense A cainstthe United States

  Title 18,United StatesCode.Section 37l

  *M ax.Penalty:Five(j)Yç/rs'lmprisonment




   *R efersonly to possible term ofincarceration,doesnotinclude possible fines,restitution,
           specialassessm ents,parole term s,or forfeitures thatm ay be applicable.
